USCA4 Appeal: 23-1154   Doc: 1        Filed: 02/10/2023   Pg: 1 of 2


                                                               FILED: February 10, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                     ___________________

                                          No. 23-1154
                                  (3:17-cv-00072-NKM-JCH)
                                    ___________________

        ELIZABETH SINES; SETH WISPELWEY; MARISSA BLAIR; APRIL
        MUNIZ; MARCUS MARTIN; JOHN DOE; NATALIE ROMERO; CHELSEA
        ALVARADO; THOMAS BAKER

                    Plaintiffs - Appellants

         and

        TYLER MAGILL; HANNAH PEARCE

                    Plaintiffs

        v.

        JASON KESSLER; RICHARD SPENCER; CHRISTOPHER CANTWELL;
        JAMES ALEX FIELDS, JR.; VANGUARD AMERICA; ANDREW ANGLIN;
        MOONBASE HOLDINGS, LLC.; ROBERT AZZMADOR RAY; NATHAN
        DAMIGO; ELLIOTT KLINE; IDENTITY EVROPA; MATTHEW HEIMBACH;
        DAVID MATTHEW PARROTT, a/k/a Matthew Parrott; MICHAEL HILL;
        MICHAEL TUBBS; LEAGUE OF THE SOUTH; JEFF SCHOEP; NATIONAL
        SOCIALIST MOVEMENT; NATIONALIST FRONT; AUGUSTUS SOL
        INVICTUS; FRATERNAL ORDER OF THE ALT-KNIGHTS; LOYAL WHITE
        KNIGHTS OF THE KU KLUX KLAN; EAST COAST KNIGHTS OF THE KU
        KLUX KLAN, a/k/a East Coast Knights of the True Invisible Empire

                    Defendants - Appellees

         and

        MICHAEL ENOCH PEINOVICH
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                     Defendant


        This case has been opened on appeal.

        Originating Court         United States District Court for the Western District of
                                  Virginia at Charlottesville
        Originating Case          3:17-cv-00072-NKM-JCH
        Number
        Date notice of appeal     02/08/2023
        filed in originating
        court:
        Appellant(s)              Elizabeth Sines, Seth Wispelwey, Marissa Blair, April
                                  Muniz, Marcus Martin, John Doe, Natalie Romero,
                                  Chelsea Alvarado, Thomas Baker
        Appellate Case            23-1154
        Number
        Case Manager              Marcy E. Beall
                                  804-916-2702
